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                     IN THE UNITED STATES DISTRICT COURT FOR

                        THE WESTERN DISTRICT OF OKLAHOMA

VFS US LLC and VFS LEASING CO..            )
                                           )
                      Plaintiffs,          )
                                           )
vs.                                        )             No. CIV-17-240-W
                                           )
COPELAND SERVICES INC.,                    )
COPELAND HOT OIL SERVICE,                  )
L.L.C.. JANE D. ROBISON, KELLY L           )
ROBISON and KEVIN R. COPELAND,             )
                                           )
                      Defendants.          )

                                          ORDER


         This matter came before the Court on the Motion to Enforce Settlement Agreement

filed by plaintiffs VFS US LLC and VFS Leasing Co. (collectively "VFS"). The Court

directed defendants Copeland Services Inc., Copeland Hot Oil Service, L.L.C., Jane D.

Robison, Kelly L. Robison and Kevin R. Copeland to respond and to explain in detail why

the Court should not grant the motion, enforce the parties' settlement agreement, enter

judgment against all defendants and award the plaintiffs reasonable attorney fees and

costs.


         The defendants did not respond to VFS's motion within the time permitted or advise

the Court that the matter had been resolved and that no response was necessary.

Accordingly, on October 23, 2017, the Court found the factual statements in the plaintiffs'

complaint and motion regarding the defendants' liability and the amount of damages were

supported by the record, see Doc. 25 at 1; the Court further found, in the absence of any

response by the defendants, that those facts should be deemed confessed. See id. (citing
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Rule 7.1(g), Rules of the United States District Court for the Western District of
Oklahoma).

       Based on those facts, the Court concluded that VFS was entitled to the reliefit had

requested: enforcement of the parties' settlement agreement, entry of judgment against

all defendants and reasonable fees and costs, s;^ jd- at 2, and it granted VFS's Motion

to Enforce Settlement Agreement. See jd. Judgment was entered that same day. See

Doc. 26.


       The matter now comes before the Court on VFS's Motion for Attorney Fees. The

defendants have not responded.^ "'In a diversity case [such as the case-at-bar,] the

matter of attorney's fees is a substantive legal issue and is therefore controlled by state

law.'"2 Chieftain Royalty Company v. Enervest Enerav Institutional Fund Xlll-A. L.P.. 861

F.3d 1182, 1188 (10^^ Qj^. 2017)(quotation omitted).

       The Court finds the documents attached to the complaint and on which this lawsuit

is grounded authorize an award of fees in this case. Because there is no dispute that the

defendants would be held liable for fees in connection with a breach of their obligations




        ^Pursuant to Rule 54.2, Rules of the United States District Court for the Western District
of Oklahoma, "[o]bjections to the allowance of attorney's fees must be filed within 14 days from
the date the motion for.. . fees is filed." And, while Rule 7.1 (g), supra, permits the Court, in its
discretion, to deem confessed any motion that is not opposed within the allotted time, the law
favors the disposition of issues on their merits. Accordingly, the Court has considered VFS's fee
request in light of extant case law and the circumstances of this case.

       ^Although the documents that are the subject of this lawsuit and that provide a basis for
the award of attorney fees refer to the laws of the State of North Carolina, VFS has relied on
Oklahoma law in in the instant motion. Absent any argument by the defendants to the contrary,
the Court has applied Oklahoma law.
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under these documents, the issue before the Court is not VFS's entitlement to fees, but

rather the amount of fees VFS should recover.^

         Accordingly, the Court must decide whether the amount requested—$36,000.00—

is reasonable,"^ and to do so under these circumstances, the Court must first "determine

a lodestar fee arrived at by multiplying [each] . . . attorney's [and paralegal/legal

assistant's®] hourly rate by the time expended[.]" Parsons v. Volkswagen of America.

Inc.. 341 P.3d 662, 667 (Okla. 2014);           Spencer v. Oklahoma Gas & Electric Co.. 171

P.3d 890, 895 (Okla. 2007).

         As the fee applicant, VFS must first "submit.. . detailed time records[,]" Finnell v.

Seismic. 67 P.3d 339, 346 (Okla. 2003), that reveal the hours for which compensation is

requested and how those hours were spent. Attached to the instant motion is a billing

worksheet, s*^ Doc. 27-2, which describes the tasks performed by each individual, the

date of such tasks and the number of hours that the individual spent in completing the

tasks.    The Court finds the worksheet is sufficiently precise to permit the Court to

determine, for all individuals for whom compensation is sought, the number of hours those

individuals worked and the tasks in which those individuals were engaged.                    After

independent examination, the Court finds the hours claimed by VFS—116.5—are neither

excessive nor unwarranted.




         ^Evidentiary hearings on the issue of attorney fees are generally preferred; they are not,
however, always required. In light of the defendants' failure to respond to VFS's fee request, the
Court finds an evidentiary hearing is unnecessary.

         '^Thls amount "includes an estimated amount of time to submit th[e] fee application and
recording the statements of judgment." Doc. 27-1 at 2, H 3.

         ^Oklahoma law also allows the recovery of paralegal/legal assistant fees in certain
circumstances. E.g.. Taylor v. Chubb Group of Insurance Companies. 874 P.2d 806 (Okla. 1994).
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       VFS, as the fee applicant, must next "offer evidence of the reasonable value of the

services performed based on the standards of the legal community in which," Finnell. 67

P.3d at 346, this matter was litigated. VFS has submitted the affidavit of counsel, John

B. Heatly, a director/shareholder in the firm of Fellers, Snider, Blankenship, Bailey &
Tippens, P.C. Heatly has practiced law for forty (40) years, e^, Affidavit of John B.

Heatly (November 2, 2017) at 2, H 2 (hereafter "Heatly Affidavit"), and based on the

worksheet, his hourly rate for work performed in 2016 was $305.00 and for work

performed in 2017 is $315.00. See id.

       Compensation is also sought for "SA Dooley" and "LL Peebles," see Doc. 27-2 at

15; the worksheet shows that Dooley charged $185.00 per hour in 2016 and charges

$195.00 per hour in 2017 and that Peebles' hourly rate for work performed in 2017 is

$175.00. See Doc. 27-2. While Heatly has stated that "[t]he[se] hourly rates ... are

reasonable . . . and . . . consistent with those rates being charged ... in the community

for similar matters during the same time periods[,]" Heatly Affidavit at 3, ]I 5, VFS has

provided no information about Dooley and Peebles.

       In setting the hourly rate, the Court must evaluate the level of performance and

skill of each lawyer and paralegal/legal assistant whose work is to be compensated and

establish a billing rate for that individual. This is done after review of competent evidence

that shows that the requested rates conform to those rates prevailing in this judicial district

for similar services provided by lawyers and paralegal/legal assistants of reasonably

comparable skill, experience and reputation.
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       In the absence of any evidence—other than Heatly's Affidavit—^that shows what
attorneys and paralegal/legal assistants in this market® command for similar cases, the
Court, based on its own knowledge, finds that $305.00 and $315.00 are reasonable hourly

rates for an attorney with Heatly's experience, reputation and skill/ However, because
no evidence has been given regarding Dooley's and Peebles' experience, reputation and

skill in these types of cases,® the Court, in its discretion, finds that $150.00 is a reasonable

hourly rate for Dooley and $120.00 is a reasonable hourly rate for Peebles.

        Having determined the number of hours reasonably spent by these three

individuals on VFS's behalf in this matter and having further determined these individuals'

hourly rates,® the Court must consider whether any factors bear on the award of fees to

which VPS is entitled. Such factors include those identified in State ex rel. Burk v. City of

Oklahoma Citv. 598 P.2d 659 (Okla. ^979)^^ ^                  Spencer. 171 P.3d at 895 (after



       ®See, e.g.. H&S Equipment. Inc. v. Devon Enerav Production Company. L.P.. No. CIV-15-
12444-HE (W.D. Okla.)[Docs. 92-3, 102].

       ^In a recent Order, the Honorable Vicki Miles-LaGrange found Heatly's hourly rates to be
reasonable. See Mack Financial Services v. Red River Brand LLC. No. CIV-17-430-M (W.D.
Okla. September 5, 2017).

       ®While expert testimony is not necessary, e.g.. Spencer. 171 P.3d at 896 n.23, there must
be some evidence of prevailing market rates for attorney fees; in the absence of the same, the
Court may rely on its own knowledge and its own analysis of the level of performance and skill of
each lawyer and paralegal/legal assistant whose work is to be compensated.

       ^Heatly (25.80 hours x $305.00) + (66.8 hours x $315.00); Dooley (11.7 hours x $150.00);
Peebles (12.2 hours x $120.00). E.g.. EQ Oklahoma. Inc. v. A Clean Environment Co.. 353 P.3d
557, 561 (Okla. App. 2015)(to calculate just, equitable and fair fee, court must compute lodestar
fee on record).

       ^°"The factors set out in Burk... are: time and labor required; novelty and difficulty of the
questions; skill requisite to perform the legal service; preclusion of other employment; customary
fee; whether the fee is fixed or contingent; time limitations; amount involved and results obtained;
experience, reputation and ability of the attorneys involved; risk of recovery; nature and length of
relationship with the client; and awards in similar causes." Spencer. 171 P.3d at 895.
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calculating reasonable fee, court should consider whether to enhance fee through

application of Burk factors). Upon review of these factors and because VFS has not

sought an enhancement, the Court concludes that no factor requires further adjustment

of the lodestar figure.

       Finally, after consideration of the Judgment entered infavor ofVFS on October 23,

2017, see Doc. 26, the Court, as it is required to ascertain, finds the fees to be awarded

in this matter "bear [a]... reasonable relationship to the amount in controversy." Finnell.

67 P.3d at 346 (footnote omitted); e.g.. Spencer. 171 P.3d at 895.

       Accordingly, the Court

       (1) GRANTS to the extent stated VFS's Motion for Attorney Fees [Doc. 27] filed on

November 2, 2017; and

       (2) AWARDS VFS legal fees in the amount of $32,130.00 to be recovered from the

defendants.

       ENTERED this             day of November. 2017.




                                                  lE^^WEST
                                                   UNITED STATES DISTRICT JUDGE
